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                       UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA
1.Elijah Henry,                       :
                                      :
                   Plaintiff,         :                   CIV-19-1018-SLP
                                        Civil Action No.: ______
       v.                             :
                                      :
1.Radius Global Solutions LLC; and 2. :
DOES 1-10, inclusive,                 :
                                        COMPLAINT AND
                                      :
                                        DEMAND FOR JURY TRIAL
                   Defendants.        :
                                      :
                                      :

       For this Complaint, the Plaintiff, Elijah Henry, by undersigned counsel, states as

follows:

                                       JURISDICTION

       1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) in their illegal efforts to

collect a consumer debt.

       2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving

rise to this action occurred in this District.

                                           PARTIES

       4.      The Plaintiff, Elijah Henry (“Plaintiff”), is an adult individual residing in

Oklahoma City, Oklahoma, and is a “consumer” as the term is defined by 15 U.S.C. §

1692a(3).
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       5.      Defendant Radius Global Solutions LLC (“Radius”), is a Florida business

entity with an address of 9550 Regency Square Boulevard, Suite 500, Jacksonville,

Florida 32225, operating as a collection agency, and is a “debt collector” as the term is

defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Radius

and whose identities are currently unknown to the Plaintiff. One or more of the

Collectors may be joined as parties once their identities are disclosed through discovery.

       7.      Radius at all times acted by and through one or more of the Collectors.

                    ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an

original creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the definition of a

“debt” under 15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Radius for collection,

or Radius was employed by the Radius to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Radius Engages in Harassment and Abusive Tactics

       12.     In or around May 2019, Radius began calling Plaintiff in an attempt to

collect the Debt.
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       13.     During the first conversation, Plaintiff advised Radius that he was at work

and instructed Radius not to call him during his work hours.

       14.     Nonetheless, Radius continued calling Plaintiff at times known to be

inconvenient, causing a great deal of frustration and distress.

   C. Plaintiff Suffered Actual Damages

       15.     The Plaintiff has suffered and continues to suffer actual damages as a result

of the Defendants’ unlawful conduct.

       16.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional

distress, fear, frustration and embarrassment.

                                         COUNT I

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. § 1692, et seq.


       17.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       18.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that

Defendants contacted the Plaintiff at a place and during a time known to be inconvenient

for the Plaintiff.

       19.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants

engaged in behavior the natural consequence of which was to harass, oppress, or abuse

the Plaintiff in connection with the collection of a debt.

       20.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants
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caused a phone to ring repeatedly and engaged the Plaintiff in telephone conversations,

with the intent to annoy and harass.

       21.    The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants

used unfair and unconscionable means to collect a debt.

       22.    The foregoing acts and omissions of the Defendants constitute numerous

and multiple violations of the FDCPA, including every one of the above-cited provisions.

       23.    The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                  PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

                     Defendants;

                 2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                     §1692k(a)(2)(A) against the Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                     § 1692k(a)(3) against the Defendants;

                 4. Actual damages from the Defendants for all damages including

                     emotional distress suffered as a result of the intentional, reckless,

                     and/or negligent FDCPA violations; and intentional and/or reckless

                     invasions of privacy in an amount to be determined at trial for the

                     Plaintiff;

                 5. Punitive damages; and


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               6. Such other and further relief as may be just and proper.

Dated: November 6, 2019



                                        Respectfully submitted,

                                        By /s/ Sergei Lemberg

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